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                                                                                                             Buzko Krasnov
                                                                                                    228 Park Ave S #85451
                                                                                                  New York, NY 10003-1502
                                                                                                          info@buzko.legal




            April 21, 2023

            Via email

            Board of Public Works
            customerservice@gbpw.com




                     RE:      CONVERSION OF ASIC MACHINES

                     To Whom It May Concern,

                    Our firm represents Maxim Eliseev, the owner of BEEQB LLC, whose ASIC machines are
            currently on your property located at 150 Hyatt St, Gaffney, South Carolina 29341.

                   Mr. Eliseev communicated he wants to retake possession of his ASIC machines from
            Uptime Hosting LLC (“Uptime”). Uptime communicated to Mr. Eliseev that it cannot return the
            machines to him because they have become collateral to you, as landlord and owner of the site,
            where the ASIC machines operate. Mr. Eliseev is unsure whether you realize that you are holding
            property that does not belong to Uptime, and instead belongs to a separate company, BEEQB
            LLC. Mr. Eliseev and BEEQB LLC should not be held liable for any agreements you made with
            Uptime.

                  Mr. Eliseev demands that you return the ASIC machines that you are in unlawful
            possession of and allow Mr. Eliseev to retake possession of them immediately.

                    The ASIC machines were purchased pursuant to an agreement governed by Florida law.
            Florida Statute section 713.31(2)(a) states that, “[a]ny lien asserted under this part in which the
            lienor has . . . willfully included a claim for work not performed upon or materials not furnished for
            the property upon which he or she seeks to impress such lien or in which the lienor has compiled
            his or her claim with such willful and gross negligence as to amount to a willful exaggeration shall
            be deemed a fraudulent lien.”

                    Your lien on the ASIC machines is a fraudulent lien. The claim upon which you base your
            lien is unfounded. Mr. Eliseev delivered the ASIC machines and paid the refundable deposit,
            which fulfilled all of his obligations to Uptime under the Agreement entered into by Uptime and
            Mr. Eliseev. Therefore, yours is a fraudulent lien, and all ASIC machines must be returned to Mr.
            Eliseev.

                    Additionally, by wrongfully possessing the ASIC machines, you are liable under South
            Carolina law for Conversion. “Conversion” is the unauthorized assumption and exercise of the
            right of ownership over goods or personal chattels belonging to another, to the alteration of the




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            condition or the exclusion of the owner's rights. Hawkins v. City of Greenville, 358 S.C. 280, 594
            S.E.2d 557 (Ct. App. 2004)

                   You must immediately return the ASIC machines to Mr. Eliseev. If you fail to comply with
            this demand by April 27, 2023, Mr. Eliseev reserves his legal and equitable rights, including
            bringing a lawsuit against you for conversion and other claims.




                                                                       Sincerely,



                                                                       Filipp Petkevitch
                                                                       Attorney
                                                                       Buzko Krasnov
                                                                       (718) 557-9582
                                                                       filipp.petkevitch@buzko.legal




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